              Case 1:25-cv-00205-AMN-MJK              Document 4      Filed 02/13/25      Page 1 of 1

                                 UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF NEW YORK

JOHN M. DOMURAD                                                                  James T. Foley, U.S. Courthouse
Clerk                                                                            445 Broadway, Room 509
                                                                                 Albany, New York 12207-2936
DANIEL R. MCALLISTER                                                             (518) 257-1800
Chief Deputy

                                                 February 13, 2025

         August Flentje, Esq.
         Erez Reuveni, Esq.
         Alexander K. Haas, Esq.
         Jacqueline Coleman Snead
         Elisabeth J. Neylan, Esq.
         U.S. Department of Justice, Civil Division
         Federal Programs Branch
         1100 L Street NW, Rm. 11531
         Washington, DC 20005

         RE: The United States of America vs. State of New York, et al.
         NYND CASE NO. 1:25-CV-0205 (AMN/MJK)

         Dear Sir or Madam:

         Please be advised that the above case was filed February 12, 2025, in the Northern District of
         New York. You are directed to advise this Court in writing, within fourteen (14) days from the
         date of this Notice, if you will remain as counsel of record, and if so, your formal admission is
         required.

         As of January 16, 2018, the Northern District of New York became a NextGen Court. This
         means all attorneys MUST have an individual PACER account, and request admission via
         PACER. If you will be seeking Permanent Admission, instructions can be found on our website
         at: http://www.nynd.uscourts.gov/sites/nynd/ﬁles/Permanent_Admission_Instructions.pdf. If you
         will be seeking Pro Hac Vice Admission, instructions can be found by using the following link:
         http://www.nynd.uscourts.gov/sites/nynd/ﬁles/PHV_Admission_Instructions.pdf. Otherwise, new
         counsel should file a notice of appearance as soon as possible.

         The parties are advised that all future filings and inquiries should be made in accordance with the
         Local Rules of this Court, and that all documents filed with the Court shall contain the case
         number listed above.

                                                          Very Truly Yours,

                                                          JOHN M. DOMURAD, CLERK


                                                          By:      s/ Helen M. Reese,
                                                                   Case Processing Specialist
         cc: Cristen Handley, Esq. (via CM/ECF)
             NDNY File
